     Case 3:17-cv-00072-NKM-JCH Document 291 Filed 04/04/18 Page 1 of 1 Pageid#: 2043
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                                                            TRANSCRIPT ORDER                                           DUE DATE:
Please Read Instructions:
1. NAME                                                                             2. PHONE NUMBER                    3. DATE
Michael Kunzelman                                                                   (225) 343-1325                     4/4/2018
4. MAILING ADDRESS                                                                  5. CITY                            6. STATE           7. ZIP CODE
PO Box 44395                                                                        Baton Rouge                        LA                 70804
8. CASE NUMBER                               9. JUDGE                                                   DATES OF PROCEEDINGS
3:17-cv-00072-NKM-JCH                         Norman K. Moon                        10. FROM 3/16/2018             11. TO 3/16/2018
12. CASE NAME                                                                                         LOCATION OF PROCEEDINGS
Elizabeth Sines et al. v. Jason Kessler et al                                       13. CITY Charlottesvile        14. STATE VA
15. ORDER FOR
u APPEAL                                     u      CRIMINAL                        u   CRIMINAL JUSTICE ACT               u   BANKRUPTCY
u   NON-APPEAL                               u      CIVIL                           u   IN FORMA PAUPERIS                  u   OTHER (Specify)

16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                PORTIONS                                        DATE(S)                         PORTION(S)                            DATE(S)
u   VOIR DIRE                                                                       u   TESTIMONY (Specify Witness)

u   OPENING STATEMENT (Plaintiff)

u   OPENING STATEMENT (Defendant)

u   CLOSING ARGUMENT (Plaintiff)                                                    u   PRE-TRIAL PROCEEDING (Spcy)

u   CLOSING ARGUMENT (Defendant)

u   OPINION OF COURT

u   JURY INSTRUCTIONS                                                               u   OTHER (Specify)

u   SENTENCING                                                                     Telephonic hearing                  3/16/2018
u   BAIL HEARING
                                                                               17. ORDER
                            ORIGINAL                                ADDITIONAL
 CATEGORY           (Includes Certified Copy to      FIRST COPY                            NO. OF PAGES ESTIMATE                       COSTS
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18. SIGNATURE                                                                       PROCESSED BY
                    s/ Michael Kunzelman
19. DATE                                                                            PHONE NUMBER
4/4/2018
TRANSCRIPT TO BE PREPARED BY                                                        COURT ADDRESS




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